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     BEVERLY HILLS LAW CORP., PC
   1 Sagar Parikh, Esq. (SBN 282655)
     433 N. Camden Drive, 6th Floor
   2 Beverly Hills, CA 90210
     Telephone: (310) 887-1338
   3 Facsimile: (310) 982-2603
   4 Email:      SP@BeverlyHillsLawCorp.com

   5 Attorneys for Alan Argaman, Secured Merchants, LLC
   6 and Chargeback Armor, Inc.
                          UNITED STATES DISTRICT COURT
   7
                         CENTRAL DISTRICT OF CALIFORNIA
   8
   9
       FEDERAL TRADE COMMISSION,    ) Case No. 2:15-cv-04527-GW (PLAx)
 10                                 )
                                    )
 11            Plaintiff,           ) DECLARATION OF MIKE
                    vs.             ) COSTACHE IN SUPPORT OF
 12                                 )
                                    ) OPPOSITION TO FTC’S MOTION
 13 BUNZAI MEDIA GROUP, INC., et    ) FOR SUMMARY JUDGMENT
                                    )
 14 al.,                            )
               Defendants.          ) Hearing Date: May 23, 2016
 15 _______________________________ ) Time: 8:30 am
                                    )
 16                                 ) Location: Courtroom 10 – Spring St.
    SECURED MERCHANTS, LLC,         ) Judge: Hon. George H. Wu
 17                                 )
    CHARGEBACK ARMOR, INC.          )
 18 AND ALAN ARGAMAN,               )
                                    )
 19                                 )
              Cross-Claimants       )
 20                  v.             )
                                    )
 21 ALON NOTTEA, an individual,     )
                                    )
 22                                 )
             Cross-Defendant
 23      I, Mike Costache, declare:
 24
            I have personal knowledge of the following facts and, if called upon to testify, I
 25
 26 could and would so competently and truthfully testify to these facts:
 27
 28
                                                -1-
        DECLARATION OF MIKE COSTACHE IN SUPPORT OF OPPOSITION TO FTC’S MOTION FOR
                                  SUMMARY JUDGMENT
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   1     1. I am the founder, and sole director, officer, and shareholder of Chargeback

   2        Armor, Inc. (“CBA”), a California corporation.
   3
   4     2. I have always been the only shareholder, director, and officer of CBA. Other
   5
            various individuals, including Doron Nottea, Alon Nottea, Roi Reuveni, and
   6
   7        Alan Argaman were listed as officers in an executive summary before CBA
   8
            officially began operating because I was preparing business plans/executive
   9
 10         summaries in order to obtain funding and thus had to list a full board and list of
 11         officers to attract investors. Thus, while I had discussions with the
 12
            aforementioned parties about being officers and directors, ultimately, I
 13
 14         remained the only officer, director, and board member. Doron Nottea, Alon
 15
            Nottea, and Alan Argaman received no monies from CBA and did not ever
 16
 17         have any decision making authority.
 18
 19      3. Doron Nottea was made a signatory on the CBA bank account because I travel
 20         internationally often and I wanted to ability to have Mr. Nottea (directly
 21
            pursuant to my orders) write checks on behalf of CBA. He never had the
 22
 23         authority to write checks on his own volition, nor did he ever write any such
 24
            checks on his own volition.
 25
 26
         4. CBA has never received monies from the sale of AuraVie. CBA has never
 27
 28         sold, marketed, or advertised skincare. CBA has never done chargebacks on
                                                -2-
        DECLARATION OF MIKE COSTACHE IN SUPPORT OF OPPOSITION TO FTC’S MOTION FOR
                                  SUMMARY JUDGMENT
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   1        behalf of CBA, as it was not incorporated by me until February 18, 2015.

   2        Please see Exhibit 811.
   3
   4     5. CBA has received $250,000 as working capital from Secured Merchants, LLC
   5
            (SM) and thus did not receive any monies from the AuraVie Defendants. SM
   6
   7        had a bank balance of just $200 as of February 28, 2015. On March 1, 2015,
   8
            SM signed three new clients to develop various technology platforms and thus
   9
 10         had received revenues of $120,000, $120,000 and $10,000 from these
 11         respective new clients. This is evidenced by the contracts attached to the
 12
            Declaration of Alan Argaman filed concurrently. Attached as Exhibit 838 is a
 13
 14         true and correct copy of CBA’s bank statement from March 2015 after the
 15
            money from SM was deposited.
 16
 17
         6. SM chose to provide this new income to CBA in order to have operating
 18
 19         expenses and build the business for a period of 4 months at which point CBA
 20         was planning to return the money to SM or provide equity in CBA. Attached as
 21
            Exhibit 837 is a true and correct copy of this agreement with SM that I signed
 22
 23         on behalf of CBA. It was an arms-length business transaction completely
 24
            unrelated to AuraVie or skincare. This granting of equity ownership interest to
 25
 26         SM never came to fruition because just three months into this contrct, in June
 27
 28
                                               -3-
        DECLARATION OF MIKE COSTACHE IN SUPPORT OF OPPOSITION TO FTC’S MOTION FOR
                                  SUMMARY JUDGMENT
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   1        2016, the FTC froze the CBA bank account and filed the instant lawsuit,

   2        hampering CBA from conducting any business.
   3
   4     7. I, on behalf of CBA, have never executed any shareholders agreement with any
   5
            third-party.
   6
   7
         8. Alan Argaman was never given any role in the business operations of CBA at
   8
   9        any time. He was never “Chief Technology Officer.”
 10
 11      9. Doron Nottea, Alan Argaman, and Secured Merchants, LLC were authorized to
 12         receive mail on CBA’s behalf not because any of these individual or entities are
 13
            part of the ownership or operations of CBA, but only because they operated in
 14
 15         the same office building and as I travel often internationally, it was useful to
 16
            have these persons receive mail in my stead when I was not available.
 17
 18
         10. I was never an owner or employee or had any other role with Secured
 19
 20         Merchants, LLC.
 21
 22      11. Roi Reuveni was hired by CBA as a temporary consultant, but was never Chief
 23         Operating Officer or any other type of officer or board member.
 24
 25         I declare under penalty of perjury that the foregoing is true and correct.
 26
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                                                -4-
        DECLARATION OF MIKE COSTACHE IN SUPPORT OF OPPOSITION TO FTC’S MOTION FOR
                                  SUMMARY JUDGMENT
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   1 DATED: May 2, 2016                  By:       Mike Costache
                                               _____________________________

   2                                             Mike Costache
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        DECLARATION OF MIKE COSTACHE IN SUPPORT OF OPPOSITION TO FTC’S MOTION FOR
                                  SUMMARY JUDGMENT
